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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION

BASIM ALI TALOUZI

v.                                                  CIVIL ACTION NO. 3:13-9385
                                                    (Criminal No. 3:11-00074-01)
UNITED STATES OF AMERICA



                         MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable Cheryl A. Eifert, United States Magistrate Judge,

for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. ' 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255 (ECF No. 242) be denied; Petitioner’s Application to Proceed Without Prepayment

of Fees and Costs (ECF No. 244) be denied; and this civil action to dismissed, with prejudice, and

removed from the docket of this Court. Neither party has filed objections to the Magistrate

Judge=s findings and recommendations.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and ORDERS that Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 242) be denied; Petitioner’s Application to

Proceed Without Prepayment of Fees and Costs (ECF No. 244) be denied; and this civil action to

dismissed, with prejudice, and removed from the docket of this Court, consistent with the findings

and recommendations.
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       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.




                                             ENTER:       June 16, 2014
